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Fn.Eo err _… D.c,

 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 Hi-g\{ l 8 551 6: h-,
WESTERN DIVISION ` `

 

UNITED STATES OF AMERICA,

Plaintiff,
vs. Case No. 03-20409-D
LEON JACKSON

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

lT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed t0 issue a check on the Registry in the sum of $500.00,
payable to Pearlie Brazill at 1154 N. McNeil St., Memphis, TN 38107 in full refund of the cash

appearance bond posted herein.

 

RNICE B. ONALD
nited States District Judge

Approved.
Robert R. Di Trolio, Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:03-CR-20409 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

